Case 1:23-cv-00282-MSM-LDA                   Document 38            Filed 11/10/23   Page 1 of 12 PageID #:
                                                    348



                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF RHODE ISLAND

 GREENLEAF COMPASSIONATE CARE                                   :
 CENTER, INC.,                                                  :
      Plaintiff,                                                :
                                                                :
 v.                                                             :
                                                                :
 MATTHEW SANTACROCE, in his official                            :
 capacity as Deputy Director of the Rhode                       :
 Island Department of Business Regulation;                      :
 ERICA FERRELLI, in her official capacity as                    :
 Chief of the Office of Cannabis Regulation                     :
 within the Rhode Island Department of                          :              C.A. No. 23-cv-282
 Business Regulation; KIMBERLY AHERN,                           :
 in her official capacity as Chair of the Rhode                 :
 Island Cannabis Control Commission;                            :
 ROBERT JACQUARD, in his official capacity                      :
 as Commissioner on the Rhode Island Cannabis                   :
 Control Commission; OLAYIWOLA                                  :
 ODUYINGBO, in his official capacity as                         :
 Commissioner on the Rhode Island Cannabis                      :
 Control Commission; and LOCAL 328 OF THE                       :
 UNITED FOOD AND COMMERCIAL                                     :
 WORKERS UNION,                                                 :
         Defendants.                                            :

     STATE DEFENDANTS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF THEIR
                           MOTION TO DISMISS

            State Defendants hereby submit this Reply Memorandum of Law in support of their Motion

 to Dismiss Plaintiff Greenleaf Compassionate Care, Inc.’s (hereinafter “Plaintiff” or “Greenleaf”)

 Complaint for lack of subject matter jurisdiction under Rule 12(b)(1) of the Federal Rules of Civil

 Procedure. Plaintiff’s Memorandum in Support of its Response to State’s Motion to Dismiss

 (hereinafter, “ECF 33”) attempts to remedy the speculative nature of their injury by introducing

 Seth Bock’s (hereinafter “Mr. Bock”) Declaration.1 However, Mr. Bock’s Declaration merely

 reinforces the speculative nature of the harm as pleaded by the Complaint. It remains that Plaintiff


 1
     Seth Bock is the Founder and Chief Executive Officer of Greenleaf.

                                                           1
Case 1:23-cv-00282-MSM-LDA            Document 38        Filed 11/10/23      Page 2 of 12 PageID #:
                                             349



 has not pleaded a concrete harm that is fairly traceable to State Defendants. Speculation is a hurdle

 that Plaintiff cannot overcome to establish standing.

                                           ARGUMENT

    I.        The Cannabis Act did not require Plaintiff Greenleaf to enter into a Collective
              Bargaining Agreement.

          Plaintiff’s argument is that the state law labor peace agreement requirement compelled

 Plaintiff to enter into a collective bargaining agreement just to secure a labor peace agreement.

 This is, of course, a logical and factual leap based on speculation and unsupported by evidence.

 Further, Plaintiff Greenleaf is still unable to fairly trace its alleged harm, having entered into a

 collective bargaining agreement, to the State Defendants. The labor peace agreement mandate at

 issue does not require Plaintiff to enter into a collective bargaining agreement.

         A.      Greenleaf’s alleged harm is speculative and therefore not an injury in fact

         Plaintiff Greenleaf’s alleged harm must be concrete and particularized to survive a

 challenge of standing. Plaintiff continues down the path of claiming that the labor peace agreement

 mandate put it in a lesser position when negotiating. Specifically, Mr. Bock now exclaims in his

 Declaration that if “Greenleaf had not needed an LPA as a condition of licensure, [he] would not

 have agreed to pay one-time bonuses or to establish hourly wages for a two-year period.” ECF

 33-1, ¶13.    This is entirely speculative and conclusory as Mr. Bock has failed to present

 facts/factual allegations showing how the labor peace agreement requirement supposedly was what

 caused him to have to agree to said terms.

         Mr. Bock claims in his Declaration that because Plaintiff needed a labor peace agreement,

 he would have to agree to Local 328’s proposed terms. ECF 33-1, ¶10. Yet, Plaintiff also explains

 that the law did not require the parties to reach an agreement on a collective bargaining agreement.

 ECF 33, pg. 11. A lack of factual allegations showing that the labor peace agreement mandate put

                                                  2
Case 1:23-cv-00282-MSM-LDA             Document 38        Filed 11/10/23       Page 3 of 12 PageID #:
                                              350



 Plaintiff in a lesser bargaining position or that the labor peace agreement was the reason for the

 alleged unfavorable terms in the collective bargaining agreement is evident. Greenleaf stands in

 just as, if not more, a speculative position as it did when it filed its Complaint.

         B.      State Defendants did not cause Plaintiff’s alleged harm

         As stated in Local 328’s Motion to Dismiss, and notably unrebutted in Plaintiff’s Response,

 Plaintiff was under threat of numerous Complaints filed by the NLRB for various unfair labor

 practices against its employees. ECF 25, pgs. 3-5., ECF 26. To resolve these Complaints and

 pursuant to the NLRA, Plaintiff was required to bargain in good faith with Local 328. Id. Still, an

 agreement on a collective bargaining agreement was not mandatory. Yet, Plaintiff ultimately

 agreed and signed the collective bargaining agreement at issue. State Defendants did not cause

 Plaintiff to agree to said collective bargaining agreement. The collective bargaining agreement is

 wholly separate from a labor peace agreement.

         Plaintiff stood in the position where it could have requested a standalone labor peace

 agreement, as other cannabis retailers have done, and continued bargaining negotiations. ECF 26,

 ¶26-27. Mr. Bock proclaims in his Declaration that Local 328 never proposed a standalone labor

 peace agreement – but, neither did Plaintiff. ECF 33-1, ¶9. Notably Mr. Bock does not attest that

 the parties could not have entered a standalone labor peace agreement. Plaintiff missed the

 opportunity to effectively negotiate a standalone labor peace agreement which, Mr. Bock surmises,

 would have avoided consenting to the present collective bargaining agreement. That was the

 Plaintiff’s choice and not the State Defendants’ responsibility. State law did not cause and will

 not cause Plaintiff harm by coercing collective bargaining negotiations because State law simply

 did not require it.




                                                    3
Case 1:23-cv-00282-MSM-LDA             Document 38        Filed 11/10/23      Page 4 of 12 PageID #:
                                              351



          Plaintiff’s cited case law, as discussed below, does not lend a hand to its fatal flaw – lack

 of causation. Plaintiff conflates their collective bargaining agreement with the Cannabis Act’s

 labor peace agreement requirement in its attempt to harmonize Plaintiff’s cited case law with the

 allegations contained in its Complaint. This is nothing more than a charade. The collective

 bargaining agreement is not a condition precedent of the labor peace agreement requirement and

 not even indirectly related. The Plaintiff decided to enter into the collective bargaining agreement

 on its own accord. Further, Plaintiff does not assert any allegation that it was prevented from or

 even experienced any difficulties obtaining a labor peace agreement. State Defendants play no

 role in collective bargaining negotiations and agreements, and therefore did not cause Plaintiff’s

 alleged harm.

          Finally, the Declaration submitted by Mr. Bock offers nothing new other than further

 speculation regarding what he would have done if not for the labor peace mandate. There is

 nothing set forth by Plaintiff that truly evidences a harm that is a concrete injury that is fairly

 traceable to State Defendants, especially because it is established law that Plaintiff did not have to

 agree to the collective bargaining agreement and does not have to agree to future collective

 bargaining agreements. As the labor peace mandate contained in the Cannabis Act does not require

 a collective bargaining agreement, Plaintiff has failed to show a concrete harm caused by State

 Defendants.

    II.      Plaintiff’s claims of government compelled action and deprivation of rights under
             the NLRA are not per se injuries.

          Plaintiff erroneously suggests that the LPA mandate constitutes a government-imposed

 obligation and deprivation of rights under the NLRA, and that as such there is a per se injury that

 obviates the need to demonstrate an injury in fact. ECF 33, pgs. 9-12. However, Plaintiff cannot

 bootstrap standing merely by arguing that the LPA mandate constitutes compelled government

                                                   4
Case 1:23-cv-00282-MSM-LDA             Document 38         Filed 11/10/23     Page 5 of 12 PageID #:
                                              352



 action and/or deprivation of rights under the NLRA without pleading a concrete injury. To

 overcome a challenge to standing, a challenger of government action must still show a sufficient

 concrete and imminent injury. Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560, 112 S.Ct. 2130 2136

 (1992). While Plaintiff relies on Lujan, it is telling that the final prong of a standing analysis set

 forth by the Supreme Court in Lujan is omitted by the Plaintiff at page 7 of its brief to this Court.

 ECF 33, pg. 7. “Third, it must be “likely,” as opposed to merely “speculative,” that the injury will

 be “redressed by a favorable decision.” Id., at 38, 43, 96 S.Ct., at 1924, 1926. Standing is not

 established by simply pointing to a governmental regulation that applies to a plaintiff; to challenge

 the labor peace agreement mandate, Plaintiff must show a particularized and imminent harm that

 is not speculative or hypothetical. Plaintiff fails to do so.

        Plaintiff’s cited caselaw – which comes from various other jurisdictions and is not binding

 on this Court - is also distinguishable because in those cases, unlike here, the plaintiffs pleaded a

 concrete and particularized injury. For example, in Iowa League of Cities, the plaintiff, although

 a challenger of governmental regulatory action, was still found to have sustained a concrete, injury-

 in-fact. Iowa League of Cities v. E.P.A., 711, F.3d 844, 870 (8th Cir. 2013). Particularly, the court

 specifically stated that “[a]t least some members are currently operating under permits that allow

 them to utilize blending and bacteria mixing zones in circumstances inconsistent with the EPA

 letters, which they must imminently rectify.” Id. (emphasis added). As such, the Court found

 plaintiff’s concrete and imminent injury to be a guaranteed increase of cost, as they were now

 noncompliant, to obey the new regulations (which defendant E.P.A did not dispute said cost). Id.

 As such, a concrete injury was still an element that had to be satisfied to challenge a government-

 imposed obligation. Unlike the plaintiff in Iowa League of Cities, the instant Plaintiff cannot and

 has not identified true, concrete, costs that it imminently faces to comply with the labor peace



                                                    5
Case 1:23-cv-00282-MSM-LDA            Document 38        Filed 11/10/23      Page 6 of 12 PageID #:
                                             353



 agreement mandate, especially when even in the absence of the LPA mandate, it is bound by the

 NLRA to engage in negotiations with Local 328.

             In OMYA, Inc. v. Vermont, the regulation at issue was one which limited the number of

 tractor trailer truck trips on a state highway, directly impacting the plaintiff’s use of the highway

 as it sought to exceed the permitted number of round trips. 80 F. Supp 2d 211, 214 (D. Vt. 2000).

 The OMYA plaintiff asserted that it required “170 round trips per day in order to meet processing

 capacity and anticipated customer demand,” whereas the permitted number of round trips was

 limited to 115 per day. Id. Clearly, the direct economic harm to the OMYA plaintiff was the

 concrete and imminent threat of loss of business and revenue, which established an injury-in-fact

 required to establish standing. Again, unlike OMYA plaintiff, the instant plaintiff’s claim of

 alleged costs to comply with the labor peace agreement is entirely speculative and far from

 concrete.

        Furthermore, in Feds of Medical Freedom v. Biden, plaintiff challenged an Executive

 Order which required all federal employees to obtain a COVID-19 vaccination, or else face

 termination. 63 F.4th 366, 369 (5th Cir. 2023). The court found that the “mandated medical

 decision alone is an injury.” Id. at 387. The injury to the federal employees was not speculative,

 in fact, it was very clear as the Court determined that the employees were faced with making

 irrevocable “significant changes” in their healthcare decisions regarding their own bodies. Id. at

 386. This is clearly an entirely different scenario, completely irrelevant to the case at hand. The

 speculative harm in this instant action is incomparable to what the Fifth Circuit concluded was

 mandated, irrevocable heath care decisions.

        The court in Lozano v. City of Houston, 620 F.3d 170 (3d Cir. 2010) also required plaintiff

 to show that they had sustained a particularized injury despite that the plaintiff challenging a



                                                  6
Case 1:23-cv-00282-MSM-LDA            Document 38        Filed 11/10/23      Page 7 of 12 PageID #:
                                             354



 governmental act. Further, the Lozano court found that plaintiff had standing to challenge some

 of the governmental act, but not all of it. Id. at 187. Specifically, the Lozano Court held that “the

 threat of future prosecution can certainly be a sufficiently imminent injury to support Article III

 standing…[h]owever, that threat must be more than a possibility dependent on multiple

 contingencies that may never occur. Id. (internal citation omitted); See, e.g., Caribbean Marine

 Servs. Co. v. Baldrige, 844 F.2d 668, 675 (9th Cir. 1988) (explaining that fears of liability reliant

 on multiple contingencies do not give a plaintiff standing). Like the instant Plaintiff, the Lozano

 plaintiff’s alleged harm depended upon a myriad of contingencies that were not certain to occur,

 therefore the court found that the alleged harm was too speculative/ attenuated to establish a

 concrete and imminent injury. Id.

        Plaintiff’s allegation that it incurred costs to comply with the labor peace agreement

 mandate is also conclusory and untied to factual allegations that could constitute concrete and

 imminent harm. ECF 33-1, ¶7. The plaintiff in Outdoor Amusement Bus. Ass’n sought to

 challenge a law regulating employment of non-immigrant workers, requiring employers to receive

 a favorable labor certification before the potential employee could receive a H-2B visa to work.

 Outdoor Amusement Bus. Ass’n, Inc. v. Dep’t of Homeland Sec., 983 F.3d 671, 680 (4th Cir.

 2020). Id. at 675-76. The harm alleged stemmed from “the alleged costs and delays that come

 from the new rules,” however, the plaintiff employer “offer[ed] specific facts that several of their

 members faced increased compliance costs because of the new regulations and delays in getting

 workers, which caused layoffs, lost revenue, contractual defaults, and even bankruptcy." Id. In

 fact, Outdoor Amusement stated that the “regulations have hurt membership, reduced dues,

 diverted resources, and increased litigation costs.” Id. Clearly, the Outdoor Amusement plaintiff

 provided particularized, nonspeculative, and imminent costs it had incurred and will incur as a



                                                  7
Case 1:23-cv-00282-MSM-LDA            Document 38        Filed 11/10/23      Page 8 of 12 PageID #:
                                             355



 result of the governmental regulation. Id. This is the opposite of what the instant Plaintiff has put

 on the table. A blanket claim that Plaintiff was coerced to enter into the collective bargaining

 agreement, incurred an unspecified amount of costs to consult an attorney, and future loss of

 bargaining leverage is certainly not particularized. More is needed.

        Plaintiff offers a slew of more case law (obtained from other federal district courts), all of

 which found concrete and imminent injuries (satisfying the first prong required of standing), in

 conjunction with a challenge to a government-imposed act. ECF 33, Footnote 8. Clearly,

 Plaintiff’s position that government-imposed obligations are per se an injury is a misstatement of

 the cited case law and of what is required to demonstrate Article III standing. Plaintiff cannot

 avoid its burden of pleading that it has sustained a concrete and imminent injury.

        Furthermore, while Plaintiff alleges that the labor peace agreement mandate contained in

 the Cannabis Act deprives it of rights provided by the NLRA, Plaintiff, again, does not and cannot

 identify a true, particularized harm it has sustained, or will imminently sustain, as a result. A

 possibility of a harm is not enough. The United States Supreme Court has held that “the practice

 of presuming collateral consequences (or of accepting the remote possibility of collateral

 consequences as adequate to satisfy Article III) sits uncomfortably beside the long-settled principle

 that standing cannot be inferred argumentatively from averments in the pleadings, but rather must

 affirmatively appear in the record, and that it is the burden of the party who seeks the exercise of

 jurisdiction in his favor, clearly to allege facts demonstrating that he is a proper party to invoke

 judicial resolution of the dispute.” Spencer v. Kemna, 118 S. Ct. 978, 984-85, (1998) (internal

 quotations and citation omitted).

        Plaintiff cites to Northern IL Chapter Builders v. Lavin, No. 04 C 50357, 2005 WL

 6046290 (N.D. Ill. Mar. 24, 2005) in support of its argument that a deprivation of right under the



                                                  8
Case 1:23-cv-00282-MSM-LDA                 Document 38           Filed 11/10/23         Page 9 of 12 PageID #:
                                                  356



 NLRA is per se an injury. However, in Lavin, the plaintiff, a nonunion contractor, was challenging

 a requirement for grant recipients to enter in a “project labor agreement.” Id. at 1. The project

 labor agreement mandate required the employer to agree to certain employee benefits, including

 “1) minimum hourly wages for each class of labor organization employees; 2) benefits and other

 compensation for each class of labor organization employee; and 3) that no strike or dispute will

 be engaged in by the labor organization employees.” Id. The Lavin court found that the plaintiff

 had standing as it was more difficult for plaintiff, a nonunion contractor, to obtain a benefit than it

 was for members of a union. Id.

         The Lavin case is distinguishable from the matter at hand. First, the labor peace agreement

 mandate in the Cannabis Act requires nothing of employers. Unlike the project labor agreement

 mandate in Lavin which required very specific labor standards be met by the employer, the labor

 peace agreement mandate in the Cannabis Act requires no such thing. As such, the labor peace

 agreement at issue here itself causes no alteration of the benefits provided by employers such as

 Plaintiff. Second, Greenleaf’s employees had voted to unionize months prior to the introduction

 of the labor peace agreement in the Cannabis Bill, whereas the Lavin plaintiff was a nonunion

 contractor.2 Again, it was not the statute but the workers who created a unionized workplace. The

 instant Plaintiff was and is in an entirely different position than the Lavin plaintiff.

         Plaintiff cannot avoid what is required of it to overcome the instant challenge of standing.

 Plaintiff still has the burden of proving standing to proceed with their action, and to do so, they

 must “show an invasion of a legally protected interest that is both concrete and particularized.”

 Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (quoting Lujan v. Defs. of Wildlife, 504 U.S.

 555, 560 (1992)). Here, Plaintiff rests upon conclusory allegations of past harm and mere


 2
   Plaintiff’s employees voted to unionize on April 5, 2021, and the labor peace agreement requirement was included
 in a draft Cannabis Bill for the first time in June, 2021. ECF 30, pg. 3.

                                                         9
Case 1:23-cv-00282-MSM-LDA             Document 38        Filed 11/10/23       Page 10 of 12 PageID #:
                                               357



  speculation about potential future harm that might arise in one way or another. “A controversy is

  not justiciable if based on contingent future injuries that have not yet arisen.” Vose v. Suttell, No.

  123CV00039MSMPAS, 2023 WL 6621149 (D.R.I. Oct. 11, 2023) (citing Texas v. United States,

  523 U.S. 296, 300 (1998)).

     III.      Plaintiff’s allegation of harm by way of “loss of leverage” is also pure speculation
               and not a concrete injury

            Plaintiff’s claim of a loss of leverage with the union, is also speculative in nature.

  Particularly, Plaintiff speculates that the labor peace agreement will cause it to have a loss of

  leverage in future negotiations. ECF 33, pg. 14. However, such a claim is abstract and hinges on

  possible future events that may not transpire as anticipated, or indeed may not transpire at all. To

  speculate what will occur in future negotiations is “too long and filled with unknowns to satisfy

  the requirement of standing.” Vose v. Suttell, No. 123CV00039MSMPAS, 2023 WL 6621149

  (D.R.I. Oct. 11, 2023) (finding that plaintiff was “many steps away from a concrete injury…” as

  he had not yet taken and passed a more recent bar examination required of him, and thereafter

  denied admission to the Bar, to suffer a concrete injury). There are many things that can sway

  negotiations between Plaintiff and Local 328, of which State Defendants are not privy to. To say

  that Plaintiff will lose leverage in future negotiations solely because of the labor peace agreement

  requirement is an illusion. Plaintiff fails to plead facts that say otherwise.

            Plaintiff references FPL Energy Maine Hydro LLC v. F.E.R.C., 551 F.3d 58, (1st Cir. 2008)

  in support of its notion that a regulated entity has standing to sue for intangible injuries. However,

  this case is completely different from the instant action. The FPL Energy plaintiff’s new license

  was stayed due to the State of Maine’s recission of a prior regulation, and this harm was found to

  be an injury in fact because, as a result, plaintiff no longer had an effective license (it was only

  permitted to temporarily continue operations). Id. at 62. This case has no application to the instant

                                                    10
Case 1:23-cv-00282-MSM-LDA           Document 38        Filed 11/10/23     Page 11 of 12 PageID #:
                                             358



  matter as Plaintiff has its license to sell cannabis and does not allege any concrete or imminent

  belief that it will not obtain a labor peace agreement in the future.         Plaintiff simply and

  speculatively alleges that because of the labor peace agreement requirement, it is at the mercy of

  Local 328 in collective bargaining negotiation. Moreover, Plaintiff is not “held hostage” by State

  Defendants. ECF 33, pg. 14. Instead, Plaintiff’s requirement that it bargain with its employees is

  simply because its employees willingly chose to unionize, which occurred even before the labor

  peace agreement mandate came into existence. Consequently, Plaintiff will have to negotiate with

  Local 328 for the foreseeable future, not by the hands of State Defendants.

                                          CONCLUSION

         For the reasons stated herein, those asserted in the State Defendant’s Memorandum in

  support of their Motion to Dismiss, and any further arguments made at hearing, the State

  Defendants respectfully request that this Honorable Court grant their Motion to Dismiss.




                                                 11
Case 1:23-cv-00282-MSM-LDA          Document 38       Filed 11/10/23    Page 12 of 12 PageID #:
                                            359



                                             Respectfully Submitted,
                                             Matthew Santacroce, in his official capacity as
                                             Deputy Director of the Rhode Island Department of
                                             Business Regulation; Erica Ferrelli, in her official
                                             capacity as Chief of the Office of Cannabis
                                             Regulation within the Rhode Island Department of
                                             Business Regulation; Kimberly Ahern, in her official
                                             capacity as Chair of the Rhode Island Cannabis
                                             Control Commission; Robert Jacquard, in his official
                                             capacity as Commissioner on the Rhode Island
                                             Cannabis     Control     Commission;      Olayiwola
                                             Oduyingbo, in his official capacity as Commissioner
                                             on the Rhode Island Cannabis Control Commission

                                             State Defendants,
                                             BY:

                                             PETER F. NERONHA
                                             ATTORNEY GENERAL

                                             /s/ Chelsea Baittinger
                                             Chelsea Baittinger (Bar No. 9471)
                                             Special Assistant Attorney General
                                             Office of the Attorney General
                                             150 South Main St.
                                             Providence, RI 02903
                                             Tel: (401) 274-4400 Ext. 2058
                                             Fax: (401) 222-2995
                                             CBaittinger@riag.ri.gov



                                 CERTIFICATE OF SERVICE

         I, the undersigned, do hereby certify that on November 10, 2023, I filed and served the
  herein document through the electronic filing system on the attorneys of record. The herein
  document electronically filed and served is available for viewing and/or downloading from the
  ECF Filing System.

                                              /s/ Chelsea Baittinger




                                               12
